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       Exhibit A to
Declaration of Christopher
 Thomspon ISO Plaintiffs’
Unopposed Motion for Final
 Approval of Class Action
       Settlement
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                                        Christopher Thompson
233 Analytics, LLC
112 Hadley Reserve Ct.
Nolensville, TN 37135
Cell Phone (727) 481-2833
chris@233analytics.com

Education            Vanderbilt University Nashville, Tennessee Bachelor of Engineering May 2010
                     Major: Computer Engineering
                     Minor: Engineering Management (School of Engineering)
Publications         Journal Publications
                     Jules White, Chris Thompson, Hamilton Turner, Brian Dougherty, Douglas C. Schmidt,
                     WreckWatch: Automatic Traffic Accident Detection and Notification with Smartphones, Springer
                     Journal of Mobile Applications and Networks

                     Jules White, Sibohan Clarke, Brian Dougherty, Chris Thompson, Douglas C. Schmidt, R&D
                     Challenges and Solutions for Mobile Cyber-Physical Applications and Supporting Internet
                     Services, Springer Journal of Internet Services and Applications

                     Jules White, Brian Dougherty, Chris Thompson, Douglas C. Schmidt, “ScatterD: Spatial
                     Deployment Optimization with Hybrid Heuristic / Evolutionary Algorithms,” ACM Transactions
                     on Autonomous and Adaptive Systems Special Issue on Spatial Computing.

                     Conference Publications
                     Chris Thompson, Hamilton Turner, Jules White, and Douglas C. Schmidt, Analyzing Mobile
                     Application Software Power Consumption via Model-Driven Engineering, Proceedings of the 1st
                     International Conference on Pervasive and Embedded Computing and Communication Systems,
                     Algarve, Portugal, March 5-7, 2011. **Received Best Student Paper Award**

                     Chris Thompson, Jules White, and Douglas C. Schmidt, Analyzing Mobile Application Software
                     Power Consumption via Model-Driven Engineering, ACM/IEEE 13th International Conference on
                     Model Driven Engineering Languages and Systems, October 3-8, 2010 Oslo, Norway

                     Chris Thompson, Jules White, Brian Dougherty and Douglas C. Schmidt, Using Smartphones to
                     Detect Car Accidents and Provide Situational Awareness to Emergency Responders, MobilWare
                     2010, June 28 – July 2, 2010, Chicago, IL USA. **Best Paper Recipient**

                     Brian Dougherty, Jules White, Jaiganesh Balasubramanian, Chris Thompson, and Douglas C.
                     Schmidt, Deployment Automation with BLITZ, 31st International Conference on Software
                     Engineering, May 16-24, 2009 Vancouver, Canada.

                     Brian Dougherty, Jules White, Chris Thompson, and Douglas C. Schmidt, Automating Hardware
                     and Software Evolution Analysis, 16th Annual IEEE International Conference and Workshop on
                     the Engineering of Computer Based Systems (ECBS), April 13-16, 2009 San Francisco, CA USA.

                     Workshop Publications
                     Chris Thompson, Jules White, Brian Dougherty, and Douglas C. Schmidt, Optimizing Mobile
                     Application Performance with Model-Driven Engineering, The Seventh Annual IFIP Workshop
                     on Software Technologies for Future Embedded and Ubiquitous Systems, November 16-18, 2009
                     Newport Beach, California

                     Book Chapters
                     Hamilton Turner, Jules White, Chris Thompson, Krzysztof Zienkiewicz, Scott Campbell, Douglas
                     C. Schmidt, Building Mobile Sensor Networks Using Smartphones and Web Services:
                     Ramifications and Development Challenges, Handbook of Research on Mobility and Computing:
                     Evolving Technologies and Ubiquitous Impacts, edited by Maria Manuela Cruz-Cunha and
                     Fernando Moreira, IGI Global, Hershey, PA, USA 2009 (Accepted Proposal)
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                                                                                                            Thompson 2

Patents            Issued
                   8,907,772: System and method for automatic unsafe driving determination and notification
                   9,578,445: Systems and methods to synchronize data to a mobile device based on a device usage
                   context
                   9,363,670: Systems and methods for restricting access to network resources via in-location access
                   point protocol
                   9,773,107: Systems and methods for enforcing security in mobile computing


Testimony          September 2021, submitted an expert report/provided testimony on behalf of Ravgen Inc. in
                          Ravgen Inc. v. Natera, Inc.
                          Western District of Texas; Case No. 6:20-cv-451

                   April 2022, submitted declarations and provided testimony on behalf of Brown et. al. in Brown et.
                           al. v. Google, LLC et. al
                           Northern District of California; Case No. 20-CV-03664-LHK

                   June 2023, submitted an expert report/provided testimony on behalf of Guardant Health in
                          Guardant Health in Twinstrand Biosciences Inc., & University of Washington v. Guardant
                          Health
                          District of Delaware; Case No 1:21-cv-01126-LPS

                   September 2023, submitted an expert report/provided testimony on behalf of Ravgen Inc. in
                          Ravgen Inc. v. Natera, Inc.
                          Western District of Texas; Case No. 6:20-cv-451

                   January 2024, provided testimony in court on behalf of Ravgen Inc. in Ravgen Inc. v. Natera, Inc.
                           Western District of Texas; Case No. 6:20-cv-451

                   March 2024, submitted an expert report/provided testimony on behalf of Ravgen Inc. in Ravgen
                          Inc. v. Ariosa Diagnostics Roche Sequencing Solutions, Inc., Roche Molecular Systems,
                          Inc., and Foundation Medicine, Inc
                          District of Delaware; Case No. 20-cv-1646-RGA-JLH

                   March 2024, submitted an expert report/provided testimony on behalf of IBM in International
                          Business Machines v. Zynga, Inc
                          District of Delaware; Case No. 1:22-cv-00590



Technology         Firebolt Group Wixom, MI
Consulting and     Chief Technology Officer July 2022 – Present
Experience             • Responsible for overseeing new technology initiatives and software development
(ongoing)              • Engaged to provide leadership and structure for early-stage CV and analytics technology
                           acquisition
                       • Onboarded and grew multinational development and operations team

                   NewsBreak Media Networks Nashville, Tennessee
                   Chief Technology Officer January 2015 – Present
                      • Responsible for ground-up architecture of marketing automation tools for brick and
                           mortar, convenience retail
                      • Designed and built critical software components and infrastructure for video distribution
                           to remote and distributed player software
                      • Tasked with defining and implementing the product roadmap and technology vision
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                                                                                                               Thompson 3

                   JMG Marketing
                   Technology Strategy Consultant and Developer March 2021 - Present
                      • Provided development resources for print and business process automation

                   Vanderbilt University
                   Technology Strategy Consultant and Developer January 2018 – Present
                      • Research IT consulting and software development for research-related projects.

                   Vanderbilt University Medical Center
                   Technology Strategy Consultant and Developer January 2019 – Present
                      • Research IT consulting and software development for research-related projects. Entity
                          separated from Vanderbilt University.

                   University of Kentucky
                   Technology Strategy Consultant and Developer August 2020 – Present
                      • Research IT consulting and software development for research-related projects.

                   233 Analytics, LLC
                   Consultant April 2010 - Present
                       • Provided development resources for custom enterprise applications and mobile
                          applications along with consulting expert services for software patent litigation.

Technology         Macy’s Department Stores
Consulting and     Third-party software developer June 2013 – August 2022
Experience             • Software development services for back-office automation of loss prevention division.
(historical)
                   Braze, Inc
                   Third-party software developer May 2019 – December 2021
                       • Developed a mobile application to support developer and user events demonstrating the
                           Braze user-engagement platform.

                   Savantis Solutions
                   Technology Strategy Consultant September 2019 – December 2019
                      • Provided technology and software development process guidance for custom product
                          development pertaining to point of sale and e-commerce systems

                   TalentWell, LLC
                   Technology Strategy Consultant January 2018 – December 2019
                      • Provided CTO and technology strategy services for the professional development space.

                   Nationwide Studios Nashville, Tennessee
                   Chief Product Officer December 2017 – November 2018
                      • Responsible for overseeing development and architecture of photography capture and
                           commerce products
                      • Designed and implemented data analytics platform to leverage historical customer data to
                           increase product efficacy
                      • Managed migration of legacy back office systems to modern architectures to increase
                           efficiency and agility

                   WellPath
                   Third-party software developer January 2017 – August 2019
                       • Provided mobile app development and data analytics services for the prison healthcare
                          space.

                   Nationwide Studios, Inc
             Case 4:20-cv-03664-YGR Document 1097-18 Filed 04/01/24 Page 5 of 14
                                                                                                           Thompson 4

                   Chief Product Officer June 2017 – November 2018
                      • Responsible for overseeing development and architecture of photography capture and
                           commerce products
                      • Designed and implemented data analytics platform to leverage historical customer data to
                           increase product efficacy
                      • Managed migration of legacy back office systems to modern architectures to increase
                           efficiency and agility

                   OptioLabs, LLC Nashville, Tennessee
                   Senior Software Development Consultant March 2012 – December 2015
                       • Worked on numerous projects including a secure Android middleware layer, command
                           and control systems for remote devices, custom data analytics packages and other business
                           services
                       • Architected and managed cloud computing resources including EC2 instances and
                           infrastructure
                       • Automated deployment and testing frameworks

                   Cyber Physical Systems, Inc. Nashville, Tennessee
                   Founder & CEO May 2010 – May 2013
                      • Raised over $2.1m in venture funding for consumer electronic startup
                      • Architected and implemented command and control server for distributed network of
                          devices
                      • Managed product development cycle to bring concept to physical product
                      • Featured in Engadget, TechCrunch, VentureBeat, FoxNews.com among others

                   Institute for Software Integrated Systems Vanderbilt University, Nashville, Tennessee
                   Undergraduate Research Assistant Summer 2009
                       • Constructed 4 mobile applications based on the Android platform
                       • Conducted research on mobile performance analysis and power-consumption optimization
                       • Presented findings and projects to upper-level administrators within the School of
                           Engineering and Vanderbilt University.

Litigation
Consulting
(ongoing)          Consultant to The State of Texas in The State of Texas v. Google, LLC
                          Texas State, Victoria County, 377th District Court; Case 22-01-88230-D
                          March 2024 - Present

                   Consultant to IBM in Pardalis Tech. v. IBM
                          Eastern District of Texas; Case 2:22-cv-00452-JRG-RSP
                          February 2024 - Present

                   Consultant to X Corp. in VidStream LLC v. Twitter Inc.
                          Northern District of Texas; Case 3:16-CV-0764-N
                          January 2024 – Present
                          Case pertains to web technology and video capture.

                   Consultant to X Corp. in B.E. Tech LLC v. Twitter Inc.
                          District of Delaware; Case 20-CV-621
                          January 2024 – Present
                          Case pertains to digital advertising.

                   Consultant to ViaSat in prelitigation matter pertaining to CDN technologies.
                          December 2023 – Present
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      Consultant to Multimedia Technologies Pte Ltd. in Multimedia Technologies Pte Ltd. v. Vizio,
             Inc
             Eastern District of Texas; Case 2:23-CV-00124-JRG-RSP
             October 2023 – Present
             Case pertains to television user interfaces.

      Consultant to Multimedia Technologies Pte Ltd. in Multimedia Technologies Pte Ltd. v. LG
             Electronics, Inc
             Eastern District of Texas; Case 2:22-CV-00494-JRG-RSP
             October 2023 – Present
             Case pertains to television user interfaces.

      Consultant to OBM, Inc. in OBM, Inc. v. Lancium
             Southern District of Texas; Case 4:23-cv-1798
             September 2023 – Present
             Case pertains to industrial power management technology.

      Consultant to Ravgen Inc. in Ravgen Inc. v. Ariosa Diagnostics Roche Sequencing Solutions, Inc.,
             Roche Molecular Systems, Inc., and Foundation Medicine, Inc
             District of Delaware; Case No. 20-cv-1646-RGA-JLH
             July 2023 – Present
             Case pertains to noninvasive prenatal testing

      Consultant to Motorola Solutions Inc in STA Group LLC v. Motorola Solutions, Inc.
             Eastern District of Texas; Case 2:22-CV-00381
             July 2023 – Present
             Case pertains to radio and communication technology.

      Consultant to Genius Media Group, Inc in In re Google Digital Publisher Antitrust Litigation
             Northern District of California; Case 20-08984
             Southern District of New York; Case 21-03010
             January 2023 – Present
             Case pertains to anticompetitive behavior and advertising technology.

      Consultant to VL Collective IP, LLC in Starz Entertainment, LLC v. VL Collective IP, LLC, et al.
             District of Delaware; Case 21-cv-01448-JLH
             December 2022 – Present
             Case pertains to adaptive bitrate streaming technologies.

      Consultant to Guardant Health in Twinstrand Biosciences Inc., & University of Washington v.
             Guardant Health
             District of Delaware; Case No 1:21-cv-01126-LPS
             November 2022 – Present
             Case pertains to genomic analysis.

      Consultant to Apple in AliveCor v. Apple
             Northern District of California; Case No 4:21-cv-03958
             July 2022 – Present
             Case pertains to heart rate monitoring via wearable technology.

      Consultant to Disney in matter involving streaming technologies.
             June 2022 – Present

      Consultant to Reichman Jorgensen Lehman & Feldberg LLP in matter pertaining storage
             technologies
             August 2022 - Present
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      Consultant to Hewlett Packard Enterprise Company in Intellectual Ventures I LLC and Intellectual
             Ventures II LLC v. Hewlett Packard Enterprise Company
             Western District of Texas; Case Nos. 6:21-cv-226-ADA, 6:21-cv-596-ADA, and 6:21-cv-
             1298-ADA
             May 2022 – Present
             Case pertains to distributed storage technologies.

      Consultant to IBM in International Business Machines v. Zynga, Inc
              District of Delaware; Case No. 1:22-cv-00590
              January 2022 – Present
              Case pertains to web technology.

      Consultant to Motorola Mobility LLC in Sonrai Memory Technologies v. Motorola Mobility LLC
             ITC; Case No. 337-TA-1280
             December 2021 – Present
             Case pertains to battery optimization strategies.

      Consultant to Avia Games in Skillz Platform, Inc v. Avia Games, Inc
             Northern District of California; Case No. 5:21-cv-02436
             October 2021 – Present
             Case pertains to mobile gaming platforms.

      Consultant to TrackThings LLC in TrackThings LLC v. Amazon Inc.
             Western District of Texas; Case No. 6:21-cv-00720
             August 2021 – Present
             Case pertains to mesh networking technology.

      Consultant to TrackThings LLC in TrackThings LLC v. Netgear, Inc.
             District of Delaware; Case No. 1:22-cv-00981
             August 2021 – Present
             Case pertains to mesh networking technology.

      Consultant to Ravgen Inc. in Ravgen Inc. v. Natera, Inc.
             Western District of Texas; Case No. 6:20-cv-451
             June 2021 – Present
             Case pertains to genetic analysis.

      Consultant to IBM in International Business Machines Corporation v. Rakuten, Inc. et al.
             District of Delaware; Case No. 1:21-cv-00461-LPS
             April 2021 – Present
             Case pertains to web technologies.

      Consultant to IBM in Chewy, Inc. v. International Business Machines Corporation,
             Southern District of New York; Case No. 1:21-cv-01319-JSR
             April 2021 – Present
             Case pertains to web technologies.

      Consultant to Carr et. al. in Carr et. al. v. Google LLC
             Northern District of California; Case No. 5:20-cv-05761
             March 2021 – Present
             Case pertains to anticompetitive behavior in the mobile application market.

      Consultant to Csupo et. al. in Csupo et. al. v. Google LLC
             Central District of California; Case No. 19-cv-352557,
             March 2021 – Present
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                             Case pertains to conversion of cellular data.

                     Consultant to Rodriguez, et. Al. in Rodriguez et. al. v. Google LLC
                            Northern District of California; Case No. 3:20-cv-04688-RS
                            September 2020 – Present
                            Case pertains to undisclosed tracking of user behavior.

                     Consultant to Brown, et. Al. in Brown et. al. v. Google LLC
                            Northern District of California; Case No. 5:20-cv-03664-LHK
                            August 2020 – Present
                            Case pertains to undisclosed tracking of user behavior.

                     Consultant to Droplets Inc in Droplets, Inc. v. Yahoo! Inc.
                            Northern District of California; Case No. 12-cv-3733
                            July 2020 – Present
                            Matter pertains to internet and web design technologies.

                     Consultant to Polaris PowerLED Technologies in Polaris PowerLED Technologies v. LG
                     Electronics, Inc
                             Central District of California; Case No. 8:20-cv-00125-JVS-DFM
                             July 2020 – Present
                             Matter pertains to automatic brightness control in digital displays.

                     Consultant to IBM in IBM v. Zillow
                            Western District of Washington, Case No. 2-20-cv-01130
                            January 2020 – Present
                            Case pertains to web technologies.

                     Consultant to IBM in IBM v. Zillow
                            Western District of Washington, Case No. 2-20-cv-00851
                            January 2020 – Present
                            Case pertains to web technologies.

                     Consultant to MLB Advanced Media in Sport Vision v. MLB Advanced Media LP
                            Southern District of New York, Case No. 1:18-cv-03025
                            November 2018 – Present
                            Case pertains to baseball data and video analysis.

Litigation           Consultant to Vector Flow, Inc in HID Global Corporation v. Vector Flow, Inc.
Consulting                  District of Delaware, Case 1:21-cv-01769
(historical)                April 2023 – January 2024

                     Consultant to OnPoint Systems, LLC in OnPoint Systems, LLC v. Protect Animals With Satellites
                            LLC
                            Eastern District of Texas; Case No. 20-657-ALM
                            October 2021 – January 2024
                            Case pertains to GIS and pet tracking solutions.

                     Consultant to Grant and Eisenhofer PA in regulatory matter
                            May 2022 – August 2022

                     Consultant to SpaceTime 3D in SpaceTime 3D v. LG Electronics
                            Eastern District of Texas; Case No 2:22-cv-00049-RWS
                            November 2022 – April 2023
                            Base pertains to brightness control in digital displays.
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      Consultant to Honeywell International Inc in Honeywell International Inc. v. Zebra Technologies
      Corporation
             Western District of Texas; Case No. 6:21-CV-01008
             February 2022 – July 2022
             Case pertains to barcode scanning technology.

      Consultant to Apple Inc, in KOSS Corporation v. Apple, Inc.
             Western District of Texas; Case No. 6:20-cv-00665
             September 2021 – November 2022
             Case pertains to digital audio and wireless headphone technology.

      Consultant to T-Mobile USA, Inc in AGIS Software Development, LLC v. T-Mobile USA, Inc.
             Eastern District of Texas; Case No. 2:21-cv-00072
             September 2021 – November 2021
             Case pertains to digital audio and wireless headphone technology.

      Consultant to Lyft, Inc in AGIS Software Development, LLC v. Lyft, Inc.
             Eastern District of Texas; Case No. 2:21-cv-00024
             September 2021 – November 2021
             Case pertains to GIS and location tracking.

      Consultant to Uber Technologies, Inc in AGIS Software Development, LLC v. Uber
      Technologies, Inc.
             Eastern District of Texas; Case No. 2:21-cv-00026
             September 2021 – November 2021
             Case pertains to GIS and location tracking.


      Consultant to the State of Arizona in State of Arizona v. Google, LLC
             Maricopa Superior Court; Case No. CV2020-006219
             June 2021 – October 2022
             Case pertains to mobile device location tracking.

      Consultant to Dropbox, Inc in Dropbox. Inc v. Motion Offense, LLC
             Western District of Texas; Case No. 6:20-cv-00251-ADA
              June 2021 – May 2023
              Case pertains to file synchronization.

      Consultant to Dropbox, Inc in Justservice.net LLC v. Dropbox. Inc
             Western District of Texas; Case No. 6:20-cv-00070-ADA
             June 2021 – June 2022
              Case pertains to file synchronization.

      Consultant to NetApp in Proven Networks v. NetApp
             Western District of Texas; Case No. 6:20-cv-00369
             May 2021 – October 2022
              Case pertains to distributed storage technologies.

      Consultant to G Holdings in G Holdings v. Samsung
             Eastern District of Texas; Case No. 2:20-cv-00342
             May 2021 – August 2021
             Case pertains to mobile payment technologies.

      Consultant to KinectUs LLC in KinectUs LLC v. Bumble Trading LLC
             Western District of Texas; Case No. 6:20-CV-00942
             April 2021 – January 2022
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             Case pertains to social networking technologies.

      Consultant to Gigamon in Gigamon, Inc. v. Apcon, Inc.
             Eastern District of Texas; Case No. 2:19-cv-00300
             December 2019 – April 2021
             Matter pertains to packet broker technologies
             Case pertains to network monitoring technologies.

      Consultant to IBM in IBM v. Airbnb Inc.
             District of Delaware; Case No. 20-351-LPS
             August 2020 – December 2020
             Matter pertains to internet and web design technologies

      Consultant to Droplets Inc in Droplets, Inc. v. Nordstrom Inc.
             Northern District of California; Case No. 12-cv-04049
             July 2020 – April 2022
             Matter pertains to internet and web design technologies

      Consultant to Spacetime 3D, Inc in Spacetime 3D, Inc v Samsung Electronics America, Inc.
             Eastern District of Texas; Case No. 2:19-cv-00372-JRG
             June 2020 – March 2021
             Matter pertains to human computer interaction technologies

      Consultant to Sound View Innovations in Sound View Innovations v Delta Airlines, Inc
             District of Delaware; Case No. 1:19-cv-00659-CFC-CJB
             December 2019 – October 2020
             Matter pertains to data processing at scale

      Consultant to Sound View Innovations in Sound View Innovations v Cigna Corporation
             District of Delaware; Case No. 1:19-cv-00964-CFC-CJB
             December 2019 – October 2020
             Matter pertains to data processing at scale

      Consultant to Sound View Innovations in Sound View Innovations v CBS Interactive, Inc
             District of Delaware; Case No. 1:19-cv-00146-CFC-CJB
             December 2019 – June 2020
             Matter pertains to data processing at scale and streaming media

      Consultant to MV3 Partners in MV3 Partners LLC v. Roku, Inc.
             Western District of Texas; Case No. 6:18-cv-00308
             August 2019 – October 2020
             Matter pertains to streaming media technologies

      Consultant to Apple, Inc in IXI Mobile v. Apple, Inc.
             Southern District of New York; Case No. 4:15-cv-03755
             June 2019 – January 2020
             Matter pertains to mobile application design

      Consultant to Polaris PowerLED Technologies in Polaris PowerLED Technologies LLC v Vizio,
      Inc
             Central District of California; Case No. 8:18-cv-01571
             June 2019 – Present
             Matter pertains to automatic brightness control in digital displays

      Consultant to Apple Inc in VoIP-Pal v. Apple
             Northern District of California, Case No. 5:18-cv-06216
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              March 2019 – October 2020
              Matter pertains to digital telephony

      Consultant to Kroy IP Holdings, LLC in Kroy IP Holdings, LLC v. Groupon, Inc.
             District of Delaware, Case No. 1 : 17-cv-01405
             February 2019 – June 2020
             Matter pertains to digital couponing

      Consultant to Deluxe Corp in confidential matter pertaining to ACH and payment processing
             December 2018 – March 2019

      Consultant to C3 IoT in Blattman et al. v. Siebel et al.
             District of Delaware, Case No. 1:15-cv-00530
             October 2018 – February 2020
             Non-patent contract dispute

      Consultant to Polaris PowerLED Technologies in Polaris PowerLED Technologies, LLC v.
             Samsung Electronics America, Inc.
             Eastern District of Texas, Case No. 2:17-cv-00715
             April 2018 – June 2019
             Matter pertains to automatic brightness control in digital displays

      Consultant to Apple Inc. in AGIS Software Development LLC v. Apple Inc.
             Eastern District of Texas, Case No. 2:17-cv-00516
             March 2018 – January 2019
             Matter pertains to geospatial software and mobile applications

      Consultant to IBM in IBM v Expedia, INC
             District of Delaware, Case No. 1:17-cv-01875-UNA
             December 2017 – September 2019
             Matter pertains to internet and web design technologies

      Consultant to Velocity Patent LLC vs FCA US LLC
             Northern District of Illinois, Case No. 1:13-cv-08419
             May 2017 – June 2019
             Matter pertains to automotive control software

      Consultant to Apple Inc. in Nokia Technologies Oy & Alcatel-Lucent USA Inv. v. Apple Inc.
             Eastern District of Texas, Case Nos. 2:16-cv-1440 and 2:16-cv-1441
             March 2017 – October 2017
             Matter pertains to baseband processing and LTE technologies

      Consultant to Koninklijke Philips N.V. in Koninklijke Philips N.V. v. Acer, ASUSTeK, Double
             Power Tech, HTC Corp, Southern Telecom, Visual Land and YiFang USA
             US District Court for the District of Delaware, Case Nos. 15-1170-GMS, 15-1125-GMS,
             15-1130-GMS, 15-1126-GMS, 15-1128-GMS, 15-1127-GMS, 15-1131-GMS
             January 2017 – October 2020
             Matter pertains to touch screen interfaces and gesture detection

      Consultant to IBM in IBM v. Groupon
             US District Court for the District of Delaware, Case No. 1:16-cv-00122
             December 2016 – December 2018
             Matter pertains to web technologies

      Consultant to IBM in confidential contractual matter
             July 2016 – July 2019
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              Matter pertained to terms of software development/implementation contract and outcomes
              of project.

      Consultant to IBM in IBM v. Priceline Group
             US District Court for the District of Delaware, Case No. 1:15-cv-00137
             July 2016 – January 2018
             Matter pertains to internet and web design technologies

      Consultant to Oracle Inc. in Oracle v. Google
             Northern District of California, Case No. 3:10-cv-03561-WHA
             December 2015 – June 2019
             Non-patent copyright matter

      Consultant to Apple Inc. in Core Wireless v. Apple Inc.
             Eastern District of Texas, Case No. 6:14-cv-00752-JRG-JDL
             May 2015 – December 2016
             Matter pertains to mobile applications and cloud technologies

      Consultant to Apple Inc. in Ericsson v. Apple Inc.
             Eastern District of Texas, Case No. 2:15-cv-00017-JRG-RSP
             May 2015 – April 2016
             Case pertained to cellular communications protocols and standards

      Consultant to Apple Inc. in Ericsson v. Apple Inc.
             International Trade Commission, ITC Investigation 337-TA-953
             May 2015 – April 2016
             Case pertained to cellular communications protocols and standards

      Consultant to Apple Inc. in Ericsson v. Apple Inc.
             Northern District of California, Case No. 15-CV-00154-JD
             May 2015 – April 2016
             Case pertained to cellular communications protocols and standards

      Consultant to Apple Inc. in Dragon Intellectual Property v. Apple Inc.
             Delaware District Court, Case No. 1:13-cv-02058
             March 2015 – June 2015
             Case pertained to media playback and recording

      Consultant to Apple Inc. in Cellular Communications Equipment v. Apple Inc.
             Eastern District of Texas, Case No. 6:14-cv-00031
             July 2014 – June 2015
             Case pertained to low level baseband processing and cellular communication

      Consultant to Apple Inc. in Unwired Planet v. Apple Inc.
             Northern District of California, Case No. 13-cv-04134-VC
             November 2014 – January 2015
             Case pertained to cloud computing technologies.

      Consultant, Confidential Matter pertaining to mobile operating systems
             October 2014 – June 2015

      Consultant, Confidential Matter pertaining to networking technologies and streaming media
             August 2014 – December 2014

      Consultant to InfoSpan Inc. in InfoSpan v. Emirates NBD Bank PJSC
             Central District of California, Case No. 8:2014-cv-01679
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              October 2013 – July 2015
              Case pertained to trade secrets involving mobile banking technologies

      Consultant to TLI Communications in TLI Communications v. Snapchat
             District of Delaware, Case No. 1:13-cv-01931
             December 2014 – August 2015
             Case pertained to web technologies.

      Consultant to TLI Communications in TLI Communications v. Imgur
             District of Delaware, Case No. 1:13-cv-01926
             December 2014 – August 2015
             Case pertained to web technologies.

      Consultant to TLI Communications in TLI Communications v. Shutterfly
             Eastern District of Virginia, Case No. 1:14-cv-00788
             December 2014 – August 2015
             Case pertained to web technologies.

      Consultant to TLI Communications in TLI Communications v. Dropbox
             Eastern District of Virginia, Case No. 1:2014cv00781
             December 2014 – August 2015
             Case pertained to web technologies.

      Consultant to Apple Inc. in Intertrust Technologies Corp. v. Apple
             Inc., Northern District of California, Case No. 4:13-cv-1235
             October 2013 – April 2014
             Case pertained to distribution of mobile content, such as music and apps.

      Consultant to Apple Inc. in PersonalWeb et. al. v Apple
             Eastern District of Texas, Case No. 6:12-cv-00660
             July 2013 – March 2014
             Case pertained to cloud computing technologies.

      Consultant to Apple Inc. in EPL Holdings v. Apple
             Northern District of California, Case No. 5:12-cv-04306-HRL
             July 2013 – December 2014
             Case pertained to audio processing technologies.

      Consultant to Apple Inc. in FlatWorld Interactives LLC v. Apple
             Northern District of California, Case No. 3:12-cv-01956
             April 2013 – December 2014
             Case pertained to multitouch input processing.

      Consultant to Collarity Inc. in Collarity v. Google
             Delaware District Court, Case No. 1:11-cv-01103-MPT
             November 2012 – February 2013
             Case pertained to web search technologies.

      Consultant to Apple Inc. in Apple v. Samsung
             Northern District of California, Case No. 5:12-cv-00630-LHK
             August 2012 – March 2014
             Case pertained to mobile operating systems and mobile user interfaces

      Consultant to Apple Inc. in Apple v. Motorola Mobility. Inc.
             Southern District of Florida, Case No. 1:12-cv-20271
             April 2012 – June 2014
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             Case pertained to mobile operating systems and mobile user interfaces

      Consultant to Apple Inc. in Apple v. Samsung
             Northern District of California, Case No. 5:11-cv-01846-LHK
             August 2011 – February 2012
             Case pertained to mobile operating systems and mobile user interfaces

      Consultant to General Growth Properties in NorthMobile Tech v. General Growth Properties
             Western District of Wisconsin, Case No. 3:11-cv-00291
             May 2011 – September 2011
             Case pertained to mobile distribution of advertisements.

      Consultant, Confidential Matter, May 2011 – May 2011 pertaining to mobile operating systems.

      Consultant to Apple Inc. in Apple v. HTC
             Delaware District Court, Court No. 1:10-cv-00166-RK
             May 2010– May 2011
             Case pertained to mobile operating systems and mobile user interfaces

      Consultant to Apple Inc. in Apple v. HTC
             International Trade Commission, ITC Investigation 337-TA-710
             May 2010 – May 2011
             Case pertained to mobile operating systems and mobile user interfaces
